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                      EXHIBIT 6
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                   IN THE UNITED STATES
               PATENT AND TRADEMARK OFFICE

                                       Patent Application

Inventor(s):       Govinda N. Rajan et al.
Case:              G. N. Rajan 5-1 (ALU/125578)
Serial No.:        10/870,217                 Group Art Unit: 2419
Filed:             06/17/2004                Confirmation #:  8666
Examiner:          J agannathan, Melanie
Title:             METHOD AND APPARATUS FOR DETERMINATION OF
                   NETWORK TOPOLOGY




MAIL STOP AMENDMENT
COMMISSIONER FOR PATENTS
P.O. BOX 1450
ALEXANDRIA, VA 22313-1450

SIR:

                                  RESPONSE AMENDMENT
            This is in response to the non-final Office Action mailed January 5, 2009. Please
reconsider the above-identified patent application as follows.
            In the event that an extension of time is required for this response to be
considered timely, and a petition therefor does not otherwise accompany this response,
any necessary extension of time is hereby petitioned for.
            Applicants do not believe that any fee is due in connection with this response. In
the event Applicants are incorrect, the Commissioner is authorized to charge any fees due,
including extension of time ($130) and excess claim fees, to counsel's Deposit Account
No. 50-4802/ALU/125578.




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                 IN THE CLAIMS:
                 This listing of claims will replace all prior versions, and listings, of claims in the
     application:


                 LISTING OF CLAIMS:


 1               1.      (currently amended) A method for managing a communications network,.
 2   having a plurality of areas, said the method comprising:
 3                       managing a eommooieations network having a plurality of areas, the
 4               method comprising:
 5                       adapting a single sniffer to collect information from nodes of a first outer
 6               nodal area of the communications network, associated vlith at least three selected
 7               areas of said network, wherein ea.eh of the at least three selected areas is
 8               associated •.vith a respective group of nodes, nodes of said respeetiv:e group of
 9               nodes sending link status messages only to other nodes of said respective group of
10               neaes
11                              wherein the communications network comprises:
12                                      aninnernodalarea;and
13                                      a plurality of outer nodal areas connected to the inner nodal
14                              area via respective nodes of the inner nodal area,
15                                      each outer nodal area comprising a plurality of nodes, each
16                              of the plurality of nodes configured to send link status messages
17                              only to other nodes of the outer nodal area,
18                              wherein the adapting comprises:
19                                      configuring the sniffer as a partition designated inner-
20                              nodal-area node of the first outer nodal area:
21                       adapting the sniffer to collect information from nodes of a second outer
22               nodal area of the communications network by configuring the sniffer as a partition
23               designated inner-nodal-area node of the second outer nodal area; and




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24                      determining a topology of at least a portion of [[ said]] the communications
25               network using     [[ said]]   the   collected information,    the      portion of the
26               communications network comprising the first and second outer nodal areas.
 1
 1               2.     (currently amended) The method of claim 1._ wherein the step of adapting
 2 said single sniffer further comprising: eomprises
 3                      connecting [[ said]] the sniffer to a central location of [[ said]] the
 4               communications network.
 1
 1               3.     (currently amended) The method of claim [[2]] l, wherein [[ said]] the
 2 sniffer is LPart of an existing network management system of [[ said]] the
 3 communications network.
 1
 1               4.     (currently amended) The method of claim [[2]] l, wherein [[said]] the
 2 sniffer is a stand-alone device connected independently to [[said]] ~central location of
 3   [[ said]] the communications network.
 1
 1               5.     (currently amended) The method of claim [[2]] l, further comprising:
 2                      for each remaining outer nodal area of the plurality of outer nodal areas:
 3                              adapting the sniffer to collect information from nodes of the
 4                      remaining outer nodal area by configuring the sniffer as a partition
 5                      designated inner-nodal-area node of the remaining outer nodal area
 6               v,<herein the step of adapting the single sniffer further eomprises:
 7                      eonfigUfing said eentrally eonneeted network sniffer as a partition
 8               designated node of a seleeted area.
 1
 1               6.     (currently amended) The method of claim 5, further comprising:
 2                      determining a topology of the entire communications network using the
 3 collected information from each of the plurality of outer nodal areas
 4               wherein said at least three seleeted areas further eomprise an L2 area and at least
 5 two LI areas, said method further eomprising:



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6                       upon selecting an L 1 a-rea, configming said sniffer as a partition
7               designated L2 node of the selected L 1 a-rea.
1
1               7.      (currently amended) The method of claim 1, wherein [[ said]] the collected
2   information from said nodes comprises link state messages sent by nodes of the first and
3   second outer nodal areas.
1
1               8.      (currently amended) The method of claim 1, wherein [[ said]] the collected
2   information is based upon an existing network protocol.
1
1               9.      (currently amended) The method of claim 8, wherein [[ said]] the existing
2   network protocol is part ofISO-IEC 10589:2001.
1
1               10.     (currently amended) The method of claim 1, wherein the step of
2   determining the topology further comprises:
3                       collecting information about [[a]] the first selected inner nodal area;
4                       calculating the topology according to [[ said]] the first selected inner nodal
5               area;
6                       subsequently receiving information about [[a]] the second inner nodal area
7               or more selected a-reas; and
8                       recalculating the topology based upon eaeh new the second inner nodal
9               area.
1
1               11.     (currently amended) The method of claim 1, wherein the step of
2   determining the topology further comprises_;_
3                       receiving information from all nodes of all areas in the communications
4               network; and
5                       performing a single topology calculation.
1
1               12.     (currently amended) The method of claim 1, wherein each node of the
2   inner nodal area that connects a respective outer nodal area to the inner nodal area is a


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 3 two-level node such that, at one level. the node functions as a member of the inner nodal
 4   area and, at another level. the node functions as a member of the respective outer nodal
 5 area
 6              said at least three selected areas comprise an L2 area and at least tv,i:o LI areas,
 7 viherein LI areas of said at least two LI areas are selected by seq'l:lentially config'l:lfing
 8   said sniffer as a partition designated L2 node of an LI area to be selected.
 1
 1              13.     (currently amended) A computer readable storage medium containing a
 2   program which, when executed, performs an operation for managing a communications
 3   network having a pl'l:lrality of areas, [[ said]] the operation comprising:
 4                      adapting a single sniffer to collect information from nodes of a first outer
 5              nodal area of the communications network, associated vri.th at least three selected
 6              areas of said network, viherein each of the at least three selected areas is
 7              associated vlith a respective group of nodes, nodes of said respecth•e group of
 8              nodes sending link stams messages only to other nodes of said respective gro'l:lp of
 9              nodes
10                             wherein the communications network comprises:
11                                     an inner nodal area; and
12                                     a plurality of outer nodal areas connected to the inner nodal
13                             area via respective nodes of the inner nodal area,
14                                     each outer nodal area comprising a plurality of nodes, each
15                             of the plurality of nodes configured to send link status messages
16                             only to other nodes of the outer nodal area,
17                             wherein the adapting comprises:
18                                     configuring the sniffer as a partition designated inner-
19                             nodal-area node of the first outer nodal area;
20                      adapting the sniffer to collect information from nodes of a second outer
21              nodal area of the communications network by configuring the sniffer as a partition
22              designated inner-nodal-area node of the second outer nodal area; and




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23                      determining a topology of at least a portion of [[ said]] the communications
24               network using      [[ said]]   the collected information, the portion of the
25               communications network comprising the first and second outer nodal areas.
 1
 1               14.    (currently amended) The computer readable storage medium of claim 13,
 2 wherein the operation step of adapting said single sniffer further comprises~
 3               connecting [[ said]] the sniffer to a central location of [[ said]] the communications
 4 network.
 1
 1               15.    (currently amended) The computer readable storage medium of claim .Ll.
 2 [[14]], wherein [[said]] the sniffer is f!..Part of an existing network management system of
 3 [[ said]] the communications network.
 1
 1               16.    (currently amended) The computer readable storage medium of claim .Ll.
 2 [[14]], wherein [[said]] the sniffer is a stand-alone device connected independently to
 3 [[said]] f!..Central location of [[said]] the communications network.
 1
 1               17.    (currently amended) The computer readable storage medium of claim 14,
 2 wherein the operation step of adapting the single sniffer further comprises:
 3               for each remaining outer nodal area of the plurality of outer nodal areas:
 4                      adapting the sniffer to collect information from nodes of the remaining
 5               outer nodal area by configuring the sniffer as a partition designated inner-nodal-
 6               area node of the remaining outer nodal area
 7                      configuring said centrally connected netw:ork sniffer as a partition
 8               designated node of a selected area.
 1
 1               18.    (currently amended) The computer readable storage medium of claim 17,
2 wherein the operation further comprises:
3                       determining a topology of the entire communications network using the
4                collected information from each of the plurality of outer nodal areas




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5               said at least three selected areas comprise an L2 area and at least two LI areas,
6   said operation further comprising:
7                       upon selecting an LI area, configuring said sniffer as a partition
8               designated L2 node of the selected LI area.
1
1               19.     (currently amended) The computer readable storage medium of claim 13,
2   wherein [[ said]] the collected information from said nodes comprises link state messages
3   sent by nodes of the first and second outer nodal areas.
1
1               20.     (currently amended) The computer readable storage medium of claim 13,
2   wherein said collected information is based upon an existing network protocol.
1
1               21.     (currently amended) The computer readable storage medium of claim 20,
2   wherein [[said]] the existing network protocol is part ofISO-IEC 10589:2001.
1
1               22.     (currently amended) The computer readable storage medium of claim 13
2   wherein the step of determining the topology further comprises:
3                       collecting information about [[a]] the first selected inner nodal area;
4                       calculating the topology according to [[ said]] the first selected inner nodal
5               area;
6                       subsequently receiving information about [[a]] the second inner nodal area
7               or more selected areas; and
8                       recalculating the topology based upon each nev,r the second inner nodal
9               area.
1
1               23.     (currently amended) The computer readable storage medium of claim 13,
2   wherein the step of determining the topology further comprises~
3                       receiving information from all nodes of all areas in the communications
4               network; and
5                       performing a single topology calculation.
1



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 1               24.     (currently amended) The computer readable storage medium of claim 13,
 2   wherein each node of the inner nodal area that connects a respective outer nodal area to
 3 the inner nodal area is a two-level node such that. at one level. the node functions as a
 4   member of the inner nodal area and. at another level. the node functions as a member of
 5 the respective outer nodal area
 6               said at least three seleeted areas eoffif)fise   fill   L2 area and at least two L 1 areas,
 7 vlherein LI areas of said at least t\vo LI areas are seleeted by sequentially eonfiguring
 8   said sniffer as a partition designated L2 node of an LI area to be seleeted.
 1
 1               25.    (currently amended) A communications network comprising:
 2               an inner nodal area, comprising a plurality of nodes;
 3               two or more outer nodal areas connected to the inner nodal area via respective
 4   nodes of the inner nodal area, each of the two or more outer nodal areas comprising a
 5   respective plurality of nodes each of the respective plurality of nodes configured to send
 6   link status messages only to other nodes of the outer nodal area; and
 7               a single sniffer for deteeting adapted to detect topology forming information
 8 about all nodes in the inner nodal area and the two or more outer nodal areas from a
 9   central location in the communications network by being configured sequentially as a
10 partition designated inner-nodal-area node of each of the two or more outer nodal area.
 1
 1               26.    (currently amended) The communications network of claim 25, wherein
 2   the single sniffer is connected to the inner nodal area.
 1
 1               27.    (currently amended) The communications network of claim 25, wherein
 2   the single sniffer is fl.part of an existing network management system of [[ said]] the
3    communications network.
 1
 1               28.    (currently amended) The communications network of claim 25, wherein
2    the single sniffer is a stand-alone device connected independently to the central location
 3   of the communications network.
 1



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 1               29.    (currently amended) The communications network of claim 26, wherein
 2   the single sniffer is instructed to function as a partition designated node in an existing
 3   network protocol.
 1
 1               30.    (original) The communications network of claim 29, wherein the existing
 2   network protocol is ISO-IEC 10589:2001.
 1
 1               31.    (currently amended) The method of elaim 1, wherein a first group of
 2   nodes assoeiated with a first area of said at least three seleeted areas earn.prises one node
 3   from eaeh other group of nodes assoeiated with eaeh other area of said at least three
 4   seleeted areas
 5               A method for managing a communications network having an inner nodal area
 6   and a plurality of outer nodal areas connected to the inner nodal area via respective nodes
 7   of the inner nodal area, the method comprising:
 8                      adapting a single sniffer to collect information from nodes associated with
 9               at least two of the plurality of outer nodal areas of the communications network
10               by configuring the sniffer, sequentially, as a partition designated inner-nodal-area
11               node of each of the at least two outer nodal areas; and
12                      determining a topology of at least a portion of the communications
13               network using the collected information, the portion of the communications
14               network comprising the at least two of outer nodal areas.
 1
 1               32.    (currently amended) A method for managing a eommunieations network
2    having a plmality of areas, eaeh of said plurality of areas assoeiated with a respeetiv=e
 3   group of nodes, said method eomprising:
4                       adapting a single sniffer to eoUeet information from nodes assoeiated with
 5   at least two seleeted areas of said netw=ork; and
6                       determining a topology of at least a portion of said network using said
7    eoUeeted information
 8               The method of claim 31, wherein the collected information comprises link state
9    messages sent by all nodes of the at least two outer nodal areas.


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                                           Remarks
            Claims 1 - 32 are pending in the application.
            Claim 1 and 14 - 24 are objected to for formalities.
            Claims 1 - 4, 7 - 8, 10 - 11, 13 - 16, 19 - 20, 22 - 23, 25 - 28, and 32 are
rejected under 35 U.S.C. §102(e) as being anticipated by Mackie U.S. Patent No.
7,420,929 ( hereinafter "Mackie")
            Claims 5 - 6, 9, 12, 17 - 18, 21, 24, and 29 - 31 are rejected under 35 U.S.C.
§103(a) as being unpatentable over Mackie in view of Callon et al. U.S. Patent No.
5,251,205 (hereinafter "Callon").
            Each of the various rejections and objections are overcome by amendments that
are made to the specification, drawing, and/or claims, as well as, or in the alternative, by
various arguments that are presented.
            Any amendments to any claim for reasons other than as expressly recited herein
as being for the purpose of distinguishing such claim from known prior art are not being
made with an intent to change in any way the literal scope of such claims or the range of
equivalents for such claims. They are being made simply to present language that is
better in conformance with the form requirements of Title 35 of the United States Code
or is simply clearer and easier to understand than the originally presented language. Any
amendments to any claim expressly made in order to distinguish such claim from known
prior art are being made only with an intent to change the literal scope of such claim in
the most minimal way, i.e., just to avoid the prior art in a way that leaves the claim novel
and not obvious in view of the cited prior art, and no equivalent of any subject matter
remaining in the claim is intended to be surrendered.
            Also, because a dependent claim inherently includes the recitations of the claim or
chain of claims from which it depends, it is submitted that the scope and content of any
dependent claims that have been herein rewritten in independent form is exactly the same
as the scope and content of those claims prior to having been rewritten in independent
form. That is, although by convention such rewritten claims are labeled herein as having
been "amended," it is submitted that only the format, and not the content, of these claims
has been changed. This is true whether a dependent claim has been rewritten to expressly
include the limitations of those claims on which it formerly depended or whether an


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independent claim has been rewriting to include the limitations of claims that previously
depended from it. Thus, by such rewriting no equivalent of any subject matter of the
original dependent claim is intended to be surrendered. If the Examiner is of a different
view, he is respectfully requested to so indicate.


                                        Claim Objections
            Claims 1 and 14 - 24 are objected to for informalities.         By this response,
Applicants have amended claims 1 and 14 - 24 to incorporate suggestions made by the
Examiner in last Office Action with respect to these claims. Accordingly, the Examiner
is respectfully requested to withdraw the objections.


                                Rejection Under 35 U.S.C. §102
            Claims 1 - 4, 7-8, 10-11, 13-16, 19-20, 22-23, 25-28, 32 are rejected under 35
U.S.C. §102(e) as being anticipated by Mackie. The rejection is traversed.
            Anticipation requires disclosure in a single prior art reference of each and every
element of the claimed invention, arranged as in the claim. Mackie does not teach or
suggest each and every element of the claimed invention, as arranged in independent
claim 1. More specifically, Applicants' claim 1 recites:
            "A method for managing a communications network, the method
            compnsmg:
                   adapting a sniffer to collect information from nodes of a first outer
            nodal area of the communications network,
                            wherein the communications network comprises:
                                    an inner nodal area; and
                                    a plurality of outer nodal areas connected to the
                            inner nodal area via respective nodes of the inner nodal
                            area,
                                    each outer nodal area comprising a plurality of
                            nodes, each of the plurality of nodes configured to send
                            link status messages only to other nodes of the outer nodal
                            area,
                            wherein adapting comprises:
                                    configuring the sniffer as a partition designated
                           inner-nodal-area node of the first outer nodal area;
                   adapting the sniffer to collect information from nodes of a second
            outer nodal area of the communications network by configuring the sniffer



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            as a partition designated inner-nodal-area node of the second outer nodal
            area; and
                    determining a topology of at least a portion of the communications
            network using the collected information, the portion of the
            communications network comprising the first and second outer nodal
            areas"
(emphasis added).         Accordingly, as recited, a single sniffer is adapted to collect
information from different outer nodal areas of a communications network by being
configured as a partition designated inner-nodal-area node of such outer nodal areas.
            The Examiner equates Mackie's network analyzer 11 to Applicants' sniffer. The
network analyzer of Mackie exchanges routing information with routers of autonomous
systems to generate and/or maintain set of prefixes for traffic analysis (see Mackie, col. 3,
line 55 - col. 4, line 20). However, nowhere does Mackie disclose that the network
analyzer is or may be configured as a partition node of such autonomous systems.
Accordingly, Mackie does not teach or suggest each and every element of Applicants'
claim 1 as arranged in the claim, and as such, independent claim 1 is not anticipated by
Mackie and is allowable under 35 U.S.C. § 102.
            Independent claims 13, 25, and 32 recite limitations similar to those recited in
independent claim 1 that are discussed above.           Therefore, for at least the reasons
discussed above, these independent claims also are not anticipated by Mackie and are
allowable under 35 U.S.C. §102.
            Because all of the dependent claims depending from the independent claims
include all the limitations of the respective independent claim from which they ultimately
depend, each such dependent claim is also allowable over Mackie.
            Therefore, Applicants' claims 1 -4, 7 - 8, 10- 11, 13 - 16, 19-20, 22-23, 25 -
28, and 32 are allowable over Mackie under 35 U.S.C. §102.                 The Examiner is
respectfully requested to withdraw the rejection.


                              Rejection Under 35 U.S.C. §103{a)
            Claims 5 - 6, 9, 12, 17 - 18, 21, 24, and 29 - 31 are rejected under 35 U.S.C.
§103(a) as being unpatentable over Mackie in view of Callon. The rejection is traversed.
            Each of these grounds of rejection applies only to dependent claims, and each is
predicated on the validity of the rejection under 35 U.S.C. §102 given Mackie. Because


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the rejection under 35 U.S.C. §102 given Mackie has been overcome, as described
hereinabove, these grounds of rejection cannot be maintained.
            Therefore, Applicants' claims 5 - 6, 9, 12, 17 - 18, 21, 24, and 29 - 31 are
allowable over Mackie in view of Callon under 35 U.S.C. §103(a). The Examiner is
respectfully requested to withdraw the rejection.




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                                         Conclusion
            It is respectfully submitted that the Office Action's rejections have been
overcome and that this application is now in condition for allowance. Reconsideration
and allowance are, therefore, respectfully solicited.
            If, however, the Examiner still believes that there are unresolved issues, the
Examiner is invited to call Eamon Wall at (732) 842-8110 x120 so that arrangements
may be made to discuss and resolve any such issues.



                                               Respectfully submitted,




Dated:        l(/4tl(Jcr                       Eamon J. Wall
                                               Registration No. 39,414
                                               Attorney for Applicants

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                Case 6:20-cv-00730-ADA Document 38-6 Filed 03/22/21 Page 16 of 18



                              Electronic Patent Application Fee Transmittal

Application Number:                                10870217


Filing Date:                                       17-Jun-2004




Title of Invention:                                Method and apparatus for determination of network topology




First Named Inventor/Applicant Name:               Govinda N. Rajan


Filer:                                             Eamon J. Wall / Carol Wilson


Attorney Docket Number:                            G. N. RAJAN 5-1 (LCNT/ 125


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                                           Sub-Total in
                         Description                       Fee Code          Quantity     Amount
                                                                                                             USD(S)


Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:


                Extension - 1 month with $0 paid              1251                1          130                130
             Case 6:20-cv-00730-ADA Document 38-6 Filed 03/22/21 Page 17 of 18
                                                                                 Sub-Total in
                   Description                 Fee Code   Quantity      Amount
                                                                                   USO($)

Miscellaneous:


                                                     Total in USD ($)            130
               Case 6:20-cv-00730-ADA Document 38-6 Filed 03/22/21 Page 18 of 18
                                       Electronic Acknowledgement Receipt

                          EFSID:                                5233550


                  Application Number:                           10870217


         International Application Number:

                  Confirmation Number:                          8666




                    Title of Invention:                         Method and apparatus for determination of network topology




       First Named Inventor/Applicant Name:                     Govinda N. Rajan


                   Customer Number:                             46363


                           Filer:                               Eamon J. Wall / Carol Wilson


                   Filer Authorized By:                         Eamon J. Wall


               Attorney Docket Number:                          G. N. RAJAN 5-1 (LCNT/ 125


                      Receipt Date:                             28-APR-2009


                       Filing Date:                             17-JUN-2004


                      Time Stamp:                               14:40:13


                    Application Type:                           Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   Credit Card

Payment was successfully received in RAM                       $130

RAM confirmation Number                                         806

Deposit Account                                                 504802

Authorized User                                                 WALL,EAMON

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F .R. Section 1.16 (National application filing, search, and examination fees)

      Charge any Additional Fees required under 37 C.F .R. Section 1.17 (Patent application and reexamination processing fees)
